          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:07cr267


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                    ORDER
                          )
                          )
DERRICK GARNETT LEWIS.    )
                          )



     THIS MATTER is before the Court sua sponte to continue the case.

     On November 15, 2007, the Defendant was indicted with four counts

of conspiracy to commit identity theft, wire and access device fraud, wire

fraud and identity theft, in violation of 18 U.S.C. §§371, 1343, 1028 & 1029.

The Defendant’s first appearance was on January 8, 2008 at which time

counsel was appointed and he was ordered detained. His arraignment

occurred on January 29, 2008 at which time his case was placed on the

February 11, 2008 calendar for trial.

     "Unless the defendant consents in writing to the contrary, the trial

shall not commence less than thirty days from the date on which the

defendant first appears through counsel or expressly waives counsel and

elects to proceed pro se." 18 U.S.C. §3161(c)(2). The Defendant here

has not so consented and thus, his trial may not start less than thirty days

from his appearance with counsel.



      Case 3:07-cr-00267-MR    Document 10   Filed 01/30/08   Page 1 of 2
      In addition, the Court finds that counsel would not have an adequate

opportunity to prepare for trial, taking into account the exercise of due

diligence. The court therefore finds that a failure to grant the continuance

"would unreasonably deny the defendant the reasonable time necessary

for effective preparation, taking into account the exercise of due diligence."

18 U.S.C. §3161(h)(8)(B)(iv).

      For the reasons stated herein, the ends of justice served by the

granting of the continuance outweigh the best interests of the public and

the Defendant in a speedy trial. 18 U.S.C. §3161(h)(8)(A).

      IT IS, THEREFORE, ORDERED that the above-captioned case is

CONTINUED from the February 11, 2008, term in the Charlotte Division.




                                      Signed: January 30, 2008




      Case 3:07-cr-00267-MR     Document 10       Filed 01/30/08   Page 2 of 2
